
*1028OPINION.
Green:
This appeal was heard on the Commissioner’s motion to withdraw his answer filed December 11, 1925, and to dismiss the appeal for lack of jurisdiction. It is the contention of the Commissioner that the petitioner on or about October 27, 1924, filed an amended return for 1923; that the tax of which the petitioner was notified by the letter of August 28, 1925, is admitted on the return as amended; and that the tax so admitted is not a deficiency within the meaning of section 273 of the Revenue Act of 1924.
We have heretofore held that the original return is the return required by law and that there is no statutory authority for the making or acceptance of an amended return. Appeal of National Refining Co., 1 B. T. A. 236; Appeal of Mabel Elevator Co., 2 B. T. A. 517. The return referred to in section 273 of the Revenue Act of 1924 is the original return — the return which starts the tolling of the statute.
On these facts, it appears that the Commissioner has determined that the correct amount of the tax is in excess of the tax admitted to be due by the taxpayer on his return, and under section 273 of the Revenue Act of 1924 such excess, no adjustments having been previously made, is a deficiency. The motion of the Commissioner is denied and the appeal is restored to the general calendar for hearing in due course.
